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                                STATES DISTRICT COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA
______________________________________________________________________________
                                    :
L A APPAREL, INC.,                  :
a/k/a LA APPAREL, INC.,             :
                                    :
                        Petitioner, :     Case No.:
       v.                           :
                                    :
STRAIGHT A COMPANY, LP,             :
                                    :
                        Respondent. :
______________________________________________________________________________


            ORDER AND JUDGMENT CONFIRMING ARBITRATION AWARD

       AND NOW, this ____________ day of ____________, 2021, upon consideration of the

                                                                                        response

thereto,

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

       1.

             Award dated January 5, 2021 as Modified on February 2, 2021 (hereinafter referred to

                             is hereby confirmed;

       2.       Judgment is hereby entered against Respondent Straight A Company, LP in

accordance with the Arbitration Award;

       3.       Respondent, Straight A, shall immediately issue payments, from Concorde Apparel



       of Concorde Apparel Company, L.L.C. in the sum of $505,489.50 for 2018, and the sum
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  $527,585.50 for 2019,

            with the Arbitration Award;

       4.      Respondent, Straight A, shall issue payments from Concorde Apparel Company

L.L.C. to Petitioner, LA,




       5.      Petitioner shall recover the costs and disbursements of this proceeding.




                                             BY THE COURT:



                                             _________________________________
                                                                           J.
